Case 2:07-cr-00144-RHW   ECF No. 79   filed 10/22/08   PageID.165 Page 1 of 2



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 5
                          UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF WASHINGTON

 7
     UNITED STATES OF AMERICA,          )
 8                                      )
                      Plaintiff,        )      NO. CR-07-144-RHW-1
 9                                      )
          Vs.                           )      ORDER GRANTING MOTION TO
10                                      )      EXPEDITE AND ORDER GRANTING
     TRISTAN REYNOLDS,                  )      UNOPPOSED MOTION TO MODIFY
11                                      )
                      Defendant.        )
12                                      )

13         The Defendant’s unopposed Motion to Modify Conditions of

14   Release [Ct. Rec. 76] and Motion to Expedite Hearing [Ct. Rec. 77]

15   having been read and considered; and it appearing that neither the

16   United States Attorney nor the United States Probation Office

17   opposes said Motion, NOW, THEREFORE,

18         IT IS HEREBY ORDERED that:
19         1.    Defendant’s Motion to Expedite Hearing [Ct. Rec. 77] is
20   GRANTED.
21
           2.    Defendant’s Motion to Modify Conditions of Release [Ct.
22
     Rec. 76] is GRANTED.
23
           3.    The condition of release requiring Mr. Reynolds to reside
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     at the home of his sister, Juliet Reynolds, in Portland, Oregon, is
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     modified to allow him to reside in an apartment in the Portland,
26

27   ORDER - 1
Case 2:07-cr-00144-RHW   ECF No. 79   filed 10/22/08   PageID.166 Page 2 of 2



 1   Oregon, area. All other conditions of release shall remain in full

 2   force and effect.

 3         DATED October 22, 2008.

 4

 5                            S/ CYNTHIA IMBROGNO
                         UNITED STATES MAGISTRATE JUDGE
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27   ORDER - 2
